   Case 15-50016 Document 221 Filed in TXSB on 05/19/16 Page 1 of 7




Thomas A. Mackey, PhD, APRN-BC
Nursing Business
2883 Palomino Springs
Bandera, Texas 78003
Tel: (713) 775-2892

                 UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISCTICT OF TEXAS
                         LAREDO DIVISION

IN RE:                            &          CASE NO:
                                  &
HUMBERTO VELA, JR.                &          15-50016-L2-11
                                  &           (CHAPTER 11)
     DEBTOR                       &


         BLR 9013 NOTICE: THIS MOTION SEEKS AN ORDER THAT
         MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE THE
         MOTION, YOU SHOULD IMMEDIATELY CONTACT THE
         MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND
         THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
         RESPONSE AND SEND A COPY TO THE MOVING
         PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE
         WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON
         YOU. YOUR RESPONSE MUST STATE WHY THE MOTION
         SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
         TIMELY RESPONSE, THE RELIEF MAY BE GRANTED
         WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
         MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU
         MUST ATTEND THE HEARING. UNLESS THE PARTIES
         AGREE OTHERWISE, THE COURT MAY CONSIDER
         EVIDENCE AT THE HEARING AND MAY DECIDE THE
         MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR
ATTORNEY.

                  Fee Application of Thomas A. Mackey
                       Patient Care Ombudsman
 For Allowance of Compensation and Reimbursement of Expenses For May
                                17, 2016




                                  1
    Case 15-50016 Document 221 Filed in TXSB on 05/19/16 Page 2 of 7




TO THE HONORABLE DAVID R. JONES,
UNITED STATES BANKRUPTCY JUDGE:

   COMES NOW, Thomas A. Mackey, Patient Care Ombudsman, (“Applicant”) in the
above referenced Chapter 11 case and file his First Fee Application for Approval of Fees
for May 17, 2016

Summary

Name of Applicant:             Thomas A. Mackey

Role in Case:                   Patient Care Ombudsman

Application Period:             May 17, 2016

                               Professional Fees            Expenses          Total

Outstanding Amounts              $3,150.00                   $305.11       $3,455.11
Requested

                                     BACKGROUND

   Humberto Vela, Jr. (the “Debtor”) filed for relief under Chapter 11 of the Bankruptcy
Code on February 19, 2015. Dr. Thomas A. Mackey was appointed as the Patient Care
Ombudsman (PCO) with the intent of evaluating and reporting to the Court on the quality
and safety of patient care. Dr. Mackey is a Registered Nurse and Nurse Practitioner with
42 years of clinical, teaching, business and administrative experience. Dr. Mackey has
provided PCO services since 2012. The PCO was directed to submit bi-monthly reports
on his evaluation pursuant to §333(b) regarding the patient care, safety, and quality
provided post bankruptcy petition by the Debtor through the San Agustin Home Health
Services (Facility).

   Since his appointment as PCO, Dr. Mackey has diligently worked fulfilling his duties
by making five on-site facility visits followed by constructive reports filed with the Court
and Debtor. Additionally, because of significant patient safety concerns, Dr. Mackey
counseled the Debtor and his staff regarding patient safety issues with the intent of
avoiding negative actions by the Court and certifying agencies. Subsequently, the Debtor
adopted the recommendations that have significantly improved the quality and safety of
the Debtor’s organization.

   Dr. Mackey made clear the terms of employment and compensation prior to
engagement as the PCO: $350.00 per hour and $175.00 per hour for travel time plus
expenses incurred (mileage, hotel, meals, filing fees, etc.). Dr. Mackey visited the facility
on six occasions: April 20, 2015, June 16, 2015, August 28, 2015 and October 28, 2015,


                                              2
    Case 15-50016 Document 221 Filed in TXSB on 05/19/16 Page 3 of 7




March 15, 2016 and May 17, 2016. Payment for the first five visits has been received in
full after intervention by the Court appointed Trustee, Mr. Ronald Hornberger. The
present Fee Application is being filed only for the visit on May 17, 2016.

                              Breakout of Current Application



NAME/CAPACITY                    TOTAL HOURS            RATE         TOTAL

Dr. Mackey                             6           $350.00/hr      $2,100.00

Travel Time for Dr. Mackey              6           $175.00/hr     $1,050.00

Expenses                                                             $305.11

Payment received from Debtor                                          $0

Outstanding Balance                                                 $3,455.11

Itemized statements are attached which detail the dates and descriptions of services
rendered or expenses incurred by Dr. Mackey, time expended on the service (where
appropriate), and total amount. Dr. Mackey is entitled to prompt payment for the
Ombudsman services rendered. The Debtor indicates he is unable to make regular
payments on invoices. Dr. Mackey is unwilling and financially unable to continue PCO
visits to the Debtor unless payment is forthcoming from the Debtor.



  WHEREFORE, PREMEISES CONSIDERED, Applicant prays that the Court approve
$3,150.00 in fees and $305.11 in expenses from Debtor to Applicant.

                              /s/Thomas Mackey
                              Patient Care Ombudsman


                                   Certificate of Service

   I hereby certify that true and correct copies of the foregoing were provided to all
parties in interest either via ECF to registered users or US first class mail, postage prepaid
on the 20th day of May 2016.

                                   /s/ Thomas Mackey
                                   Patient Care Ombudsman



                                              3
    Case 15-50016 Document 221 Filed in TXSB on 05/19/16 Page 4 of 7




DEBTOR:

Humberto Vela, Jr.
2105 Guatemozin St.
Laredo, TX 78043

UNITED STATES TRUSTEE:

United States Trustee
515 Rusk Ave., Suite 3516
Houston, TX 77002

Ronald Hornberger
rhornberger@pg-law.com

PARTIES REQUESTING NOTICE:

Cantera Court Complex
9802 McPherson #135
Laredo, TX 78045

Compass Bank
700 San Bernardo Avenue
Laredo, TX 78040


Comptroller of Public Accounts
Laredo Enforcement Office
1202 East Del Mar Blvd., Ste. 1
Laredo, TX 78041-2400

EG Professional Services
2903 Victor Lugo Ct.
Laredo, TX 78041

IRS
P.O. Box 21126
Philadelphia, PA 19114

South Texas Waste System
428 Hilltop Road
Laredo, TX 78045

Southern Sanitation
220 Guadalupe
Laredo, TX 78040



                                   4
    Case 15-50016 Document 221 Filed in TXSB on 05/19/16 Page 5 of 7




Texas Comptroller of Public Accounts
111 E. 17th Street
Austin, TX 78774-0100

Office of the US Trustee
515 Rusk Ave., Suite 3516
Houston, Texas 77002

Texas Department of Aging and Disability
P.O. Box 149030
Austin, Texas 78714-9030

Capital One Retail Services
P.O. Box 60504
City of Industry, CA 91716




                                           5
    Case 15-50016 Document 221 Filed in TXSB on 05/19/16 Page 6 of 7




                     UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISCTICT OF TEXAS
                             LAREDO DIVISION

IN RE:                                        &             CASE NO:
                                              &
HUMBERTO VELA, JR.                             &             15-50016-L2-11
                                              &             (CHAPTER 11)
      DEBTOR                                  &


              ORDER GRANTING THIRD INTERIM FEE APPLICATION
           OF DEBTOR’S COUNSEL FOR ALLOWANCE OF COMPENSATION
                        FOR THE PERIOD OF May 17, 2016

The Court, after notice and hearing, has considered the Interim Fee Application for
Allowance of Compensation for the period of May 17, 2016 filed by Dr. Thomas
Mackey, the patient care ombudsman. The Court has determined that the Application
meets the requirements as set forth under Section 330(a)(3)(A) of the Bankruptcy Code,
Bankr. R 2016 and Bankr. Loc. R. 2016. The Court has further considered the following
factors set forth in In re First Colonial Corp. Of America, 544 F.2d 1291 (5th Cir.), cert.
Denied, 431 U.S. 904 (1977) in determining the amount of professional fees and expense
reimbursements to be awarded:
           • The time and labor required;
           • The novelty and difficulty of the questions;
           • The skill requisite to perform the services properly;
           • The preclusion of other employment by the attorneys due to acceptance of the
Case;
           • Customary fees;
           • Whether the fee is fixed or contingent;
           • Time limitations imposed by the client or other circumstances;
           • The amount of time involved and the result obtained;
           • The experience, reputation and ability of the attorneys;
           • The “undesirability” of the case;
           • The nature and length of the professional relationship with the client; and
           • Awards in similar cases.

After consideration of these factors, the Court has concluded that the services detailed in
the Application provided substantial benefit to the estate and its creditors.

Accordingly, it is ORDERED THAT:
Dr. Thomas Mackey is awarded interim compensation in the amount of $3,150.00 for
professional fees and the amount of $305.11 for reimbursement of expenses for the
period May 17, 2016. Further, the Debtor is ordered to reimburse Dr. Mackey the said
fees and expenses within 30 days.




                                             6
   Case 15-50016 Document 221 Filed in TXSB on 05/19/16 Page 7 of 7




SIGNED this _____ day of May 2016.

                                      ____________________________________
                                      UNITED STATES BANKRUPTCY JUDGE


DATED this _____ day of May 2016

             Respectively submitted



             Thomas A. Mackey, PhD, APRN-BC




                                         7
